Case 4:23-mc-00116 Document 3 Filed on 02/23/23 in TXSD Page 1 of 3

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VIA CERTIFIED MAIL

United States District Court

P.O. Box 61010
Houston, Texas 77208

Re:

Case No.

Dear Sir/Madam,

———— ATTORNEYS AT LAW ——

Alyssa Puccio
apuccio@tm-firm.com

February 15, 2023

United States ¢
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Outhern District of Texac
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FEB 23 2023

Nathan Ochsner, Clerk of Court

XL Specialty Insurance Company v. Bighorn
Construction & Reclamation, LLC, et al.
21-3068-BAH

We represent XL Specialty Insurance Company (“XL”) located at 70 Seaview Avenue,

Stamford, CT 06902, in the above-referenced case. Enclosed, please find our Proof of Mailing as

' required under 35.004(b)(2).

Respectfully Submitted,

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Alyssa Puccio

 

NEW JERSEY

89 Headquarters Plaza

North Tower, Suite 1201
Morristown, New Jersey 07960
973-547-3611

Facsimile: 973-554-1220

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